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 6                        UNITED STATES DISTRICT COURT
                    WESTERN DISTRICT OF WASHINGTON AT SEATTLE
 7
     UNITED STATES OF AMERICA,                             NO. CR16-336-RAJ
 8

 9                                 Plaintiff,

10          v.
                                                           DETENTION ORDER
11   MANUEL SANCHEZ-GONZALEZ,
12
                                   Defendant.
13

14   Offense charged:
15          Count 1:      Conspiracy to Distribute Heroin
16   Date of Detention Hearing: January 12, 2017
17          The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and
18   based upon the factual findings and statement of reasons for detention hereafter set forth, finds:
19
            FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION
20          1.      Pursuant to 18 U.S.C. § 3142(e), there is a rebuttable presumption that
21                  defendant is a flight risk and a danger to the community based on the nature of
22                  the pending charges. Application of the presumption is appropriate in this case.
23          2.      Defendant is a citizen of Ecuador.
24          3.      Defendant has no ties to this district or to the United States.
25          4.      Defendant maintains ties to Ecuador.
26


     DETENTION ORDER
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           5.    An immigration detainer has been placed on defendant by the United States
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                 Immigration and Customs Enforcement.
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           6.    There are no conditions or combination of conditions other than detention that
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                 will reasonably assure the appearance of defendant as required or ensure the
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                 safety of the community.
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           IT IS THEREFORE ORDERED:
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           (1)   Defendant shall be detained and shall be committed to the custody of the
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                 Attorney General for confinement in a correction facility separate, to the extent
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                 practicable, from persons awaiting or serving sentences or being held in custody
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                 pending appeal;
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           (2)   Defendant shall be afforded reasonable opportunity for private consultation with
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                 counsel;
13
           (3)   On order of a court of the United States or on request of an attorney for the
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                 government, the person in charge of the corrections facility in which defendant
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                 is confined shall deliver the defendant to a United States Marshal for the
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                 purpose of an appearance in connection with a court proceeding; and
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           (4)   The Clerk shall direct copies of this Order to counsel for the United States, to
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                 counsel for the defendant, to the United States Marshal, and to the United States
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                 Pretrial Services Officer.
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           DATED this 12th day of January, 2017.


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                                                JAMES P. DONOHUE
23                                              Chief United States Magistrate Judge
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     DETENTION ORDER
     18 U.S.C. § 3142(i)
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